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 1   Attorney at Law
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 2   Fresno, California 93721
 3   Telephone: (559) 497-6132
 4   Attorney for Defendant,
     LENELE MARIA NUNEZ
 5
 6
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                                 Case No. 1:15-CR-00046 LJO-SKO
10           Plaintiff,                                        STIPULATION TO CONTINUE
11                                                             SENTENCING HEARING
                    v.                                         AND ORDER THEREON
12   LENELE MARIA NUNEZ,                                       DATE: February 13, 2017
13                                                             TIME: 9:30 a.m.
            Defendant.                                         Courtroom Four
14                                                             Honorable Lawrence J. O'Neill
15
16          Defendant, LENELE MARIA NUNEZ, by and through her counsel, John F. Garland and
17   the United States of America, by and through its counsel, Phillip A. Talbert, Acting United
18
     States Attorney and Kathleen A. Servatius, Assistant United States Attorney, hereby stipulate
19
     to continue the defendant's sentencing hearing from December 19, 2016 to February 13, 2017
20
21   at 9:30 a.m. This continuance is necessary because the defendant is scheduled to undergo

22   major surgery on November 10, 2016 and her physician has advised her that the normal
23   recovery period following the surgery is eight weeks. This continuance will also provide the
24
     United States Probation Office additional time to complete the Presentence Investigation
25
     Report and include the defendant's most current health condition and medical treatment needs,
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27   which are relevant factors to be considered by the Court in determining a reasonable sentence.

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     ___________________________________________________________________________________________________________________
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             The parties further stipulate that any delay resulting from this continuance shall be
 1
     excluded on the following basis:
 2
 3                    Title 18 United States Code Section 3161(h)(8)(A) - that the ends of justice

 4                    served by taking such action outweighs the best interest of the public and the
 5
                      defendant in a speedy trial.
 6
 7   Dated: November 7, 2016                                       /s/ John F. Garland
                                                                      John F. Garland
 8
                                                                   Attorney for Defendant
 9                                                               LENELE MARIA NUNEZ

10
     Dated: November 7, 2016                                        Phillip A. Talbert
11
                                                              Acting United States Attorney
12
13                                                                   /s/ Kathleen A. Servatius
                                                               By:      Kathleen A. Servatius
14                                                                     Assistant U.S. Attorney
15
16
                                                  ORDER
17
18           GOOD CAUSE APPEARING, based on the stipulation of the parties,

19   IT IS HEREBY ORDERED that the sentencing hearing for defendant LENELE MARIA
20   NUNEZ is continued to February 13, 2017 at 9:30 a.m.
21
22
     IT IS SO ORDERED.
23
24       Dated:      November 7, 2016                                 /s/ Lawrence J. O’Neill _____
                                                           UNITED STATES CHIEF DISTRICT JUDGE
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26
27
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     ___________________________________________________________________________________________________________________
